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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

STACY ERNST, DAWN HOARD, IRENE
RES-PULLANO, MICHELLE LAHALIH, and
KATHERINE KEAN,
                                                         Case No.: 08 C 4370
                             Plaintiffs,
                                                         Judge Norgle
       v.
                                                         Magistrate Judge Jeffrey Cole
CITY OF CHICAGO,

                             Defendants.


                                   NOTICE OF MOTION

        PLEASE TAKE NOTICE THAT on Friday, February 7, 2014, at 10:30 a.m., or as soon
thereafter as counsel may be heard, we shall appear before the Honorable Judge Charles Norgle,
or any judge sitting in his stead, in Courtroom 2341, of the United States District Court for the
Northern District of Illinois, Eastern Division, and present Agreed Motion to Set Pre-Trial
Conference for February 24, 2014, a copy of which is served upon you.

Dated: February 5, 2014
Respectfully submitted,                               Respectfully submitted,

THE CITY OF CHICAGO                                   STEPHEN R. PATTON,
                                                      Corporation Counsel of the City of
                                                      Chicago

By: s/ Cary E. Donham                                 By: s/ Timothy Swabb

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